
Atkinson, Justice,
dissenting.
1. Where either party in a civil case is called as a witness in his own behalf, the adverse party is entitled to subject him to a cross-examination thorough and sifting; but he cannot, under the guise of a cross-examination, against a claim of privilege by the party examined, elicit from him testimony which may criminate or tend to criminate him, or which shall tend to work a forfeiture of his estate, or which shall tend to bring infamy or disgrace or public contempt upon himself or any member of his family; especially is this true, where the matter inquired of is collateral merely, or relates to irrelevant matters, or is not responsive to testimony delivered by the witness on his behalf.
2. A witness may not be impeached by proof of contradictory statements previoaisly made under oath touching immaterial matters and those not relevant to the issue being tried; and matters are neither material nor relevant when, under the pleadings and the evidence admitted thereunder, their admission in evidence could not legally aid in the solution of the questions raised.
3. A party to a cause, sworn as a witness in his own behalf, is in like manner protected, and cannot be im*443peached by proof that in a former stage of the same cause he had testified falsely as to matters touching his own conduct, concerning which, in the trial then in progress, he exercises his privilege to remain silent, and which are not relevant to the pending issue.
, 4. The fact that one party to a cause has wilfully manufactured or suppressed testimony, or been guilty of any ■other conduct therein which would indicate a purpose to take an unfair advantage of his adversary, may be proved at the trial to discredit the case of such paíty. Y et, where the evidence offered to prove such facts, whether consisting of documents or otherwise, contain some matters which are wholly irrelevant, the court may, upon objection made upon the ground of irrelevancy, exclude such testimony as a whole from the consideration of the jury; and this is true even though such documents or such testimony offered may contain some evidence which might, under other circumstances, be relevant to the issue and admissible. The duty of separating that which is relevant from that which is irrelevant is upon the party offering the evidence, and not upon the court.
5. Where at a former trial of the cause then being tried, a party, who is a witness in his own behalf, makes an affidavit and also delivers oral testimony touching matters concerning his own conduct, with respect to which, during the trial then in progress, some of which matters are relevant and some irrelevant, being again a witness on his own behalf, claims his privilege of silence concerning such matters, cannot be impeached generally by showing that he had admitted 'that he “had sworn false in that affidavit,” it not appearing that the admission related to those things which were relevant rather than to those which were irrelevant, nor is his former testimony, where it relates to matters wholly foreign to the controversy, admissible for any purpose.
6. The verdict of the jury is supported by the evidence; *444the charge of the court fully and fairly submitted the questions made by the pleadings; two juries have found in favor of the plaintiff, and no error of law having been committed, this court ought not to control the discretion of the trial judge in refusing a new trial.
